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AO 91 (Rev. 11/11) Criminal Complaint
                                                     ORIGINAL
                                        UNITED STATES DISTRICT CO
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                                              Central District of California
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                                                                   Cas~I~7 ~ 9               5 V~ 1 Y 1
 Calvin Tfan C~ianpa,:~

                    Defendant


                                             CRIMINAL COMPLAINT

         I,the complainant in this case, state that the following is true to the best of my knowledge and belief.

From on or about a date unknown to on or about July 10, 2019 in the county of Orange in the Central District of

California, the defendant violated:

           Code Section                                               Offense Description

           18 U.S.C. § 922(a)(1)(A)                                   Engaging in the Business of Dealing in
                                                                      Firearms without a License

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         D Continued on the attached sheet.



                                                                               Complainant's 'nature


                                                                        Lawrence Wozniak, Special Agent
                                                                               Printed name and title
Sworn to before me and signed in my presence.

 Date:                  ~--ZS'~/
                                                                                  u    e's signature

 City and state: Santa Ana, California                              Hon. John D. Early, U.S. Magistrate Judge
                                                                               Printed name and title
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                           A F F I D A V I T

        I, Lawrence Wozniak, being duly sworn, do hereby state

  the following:

                            I.   INTRODUCTION


        1.     I am a Special Agent ("SA") with the Department

  of Justice, Bureau of Alcohol, Tobacco, Firearms and

  Explosives ("ATF") and have been a Special Agent for

  approximately fifteen (15) years.        Prior to working as a

  Special Agent with ATF, I was an Inspector with ATF for

  approximately three (3) years, and my duties included

  regularly inspecting Federal Firearms Licensees ("FFLs").

        2.     As a Special Agent, I have received training in

  federal firearms laws and regulations at the ATF National

  Academy and Criminal Investigator Training Program.           I

  regularly refer to these laws and regulations during the

  course of my duties.      During my employment with ATF, I have

  participated in dozens of investigations involving

  individuals illegally possessing firearms, ammunition, and

  narcotics.    In addition, I have worked with many different

  agencies throughout Los Angeles and Orange Counties and

  have participated in many investigations involving

  individuals illegally possessing and/or dealing in

  firearms.    I am currently assigned to the ATF Santa Ana

  Field Office.




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                     II. PURPOSE OF THE AFFIDAVIT


        3.    This affidavit is made in support of a criminal

  complaint and arrest warrant for Calvin Tran CHANPA, also

   known as ~~Duece" (~~CHANPA"), for a violation of Title 18,

  United States Code, Section 922(a)(1)(A): Engaging in the

  Business of Dealing in Firearms without a License and a

  criminal complaint and arrest warrant for Ryan Paul Ocon

  MITCHELL ("MITCHELL"), for a violation of Title 18, United

  States Code, Section 922(g)(1): Felon in Possession of a

  Firearm.

        4.    This affidavit is also made in support of search

  warrants for the following locations:

        a)    the residence located at 3555 W. Greentree

        Circle, Unit B, Anaheim, CA 92804, SUBJECT PREMISES 1

        described in Attachment A-1,

        b)    the person of Calvin Tran CHANPA, SUBJECT PERSON

        1 described in Attachment A-2,

        c)    the person of Ryan Paul Ocon MITCHELL, SUBJECT

        PERSON 2 described in Attachment A-3, and

        d)    a black Infiniti model G37 sedan bearing a

        California license plate of 7YAN752, SUBJECT VEHICLE

        1, registered to Calvin Tran CHANPA, and described in

        Attachment A-4.

  Attachments A-1-A-4 are incorporated by reference.          SUBJECT

  PREMISES 1, SUBJECT PERSONS 1-2, and SUBJECT VEHICLE 1 are

  collectively referred to as the SUBJECT PREMISES.




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                        III. ITEMS TO BE SEIZED


        5.    Based on the investigation in this case, I

  respectfully submit that there is probable cause to believe

  that the items listed in Attachment B, which constitute

  evidence, contraband, fruits, or instrumentalities of

  violations of 21 U.S.C. ~~ 846 and 841(a)(1) (narcotics

  conspiracy and trafficking); 21 U.S.C. ~ 843(b) (unlawful

  use of communication facilities); 18 U.S.C. ~ 922(g)

  (unlawful possession of firearms); 18 U.S.C. ~ 924 (c) (use

  and possession of firearms during and in relation to

  narcotics trafficking); 21 U.S.C. § 856(a)(1): (maintaining

  drug-involved premises); 18 U.S.C. ~ 922(a)(1)(A):

  (engaging in the business of dealing in firearms without a

  license); 18 U.S.C. ~ 371 (conspiracy to commit a Title 18

  offense); 26 U.S.C. ~ 5861(d) (possession of an

  unregistered firearm); and 18 U.S.C. ~ 1956(h) (money

  laundering conspiracy) (collectively, ~~SUBJECT OFFENSES"),

  will be found at the SUBJECT PREMISES.

        6.    This affidavit is intended to show there is

  sufficient probable cause for the requested search warrants

  and complaint complaints, and does not purport to set forth

  all of my knowledge of or investigation into this matter.

  The statements set forth in this affidavit are based upon

  my background, training and experience, my review of

  reports related to this case, my review of field notes

  related to this case, my debriefings with undercover

  agents, my conversations with other involved personnel, my


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  review of electronic surveillance, my own personal

  observations and other reliable sources of information

  relative to this investigation.



                    IV. SUNIl~lARY OF PROBABLE CAUSE

        7.    During the course of an investigation involving

  dealing in firearms without a license, illegal firearms

  possession, and selling narcotics, an ATF Undercover Agent

  purchased firearms and suspected methamphetamine from

  CHANPA on three occasions.       On two occasions, CHANPA

  arranged for the sale of firearms and suspected

  methamphetamine to occur at MITCHELL's apartment (SUBJECT

  PREMISES 1).    When an ATF undercover agent asked MITCHELL

  about purchasing a particular handgun that was at SUBJECT

  PREMISES 1, MITCHELL stated that it was his personal

  firearm and not for sale.      MITCHELL has a 2018 felony

  conviction for Carrying a Concealed Firearm in a Vehicle,

  in violation of California Penal Code, Section 25400(a)(1).

                   V. STATEMENT OF PROBABLE CAUSE

  CASE BACKGROUND


        8.    In May 2019, I initiated an investigation into

  firearm and narcotics sales occurring at different

  locations throughout Orange County and parts of Los Angeles

  County.




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        9.     Based on my personal participation in the

  investigation, my review of recorded telephone calls, text

  messages, and video of the firearms transactions, law

  enforcement reports, and my conversations with an ATF

  undercover agent ("UC-1"), a Brea Police Department

  undercover officer ("UC-2"), and another Brea Police

  Department undercover officer ("UC-3"), I learned the

  following:


      Purchase of Two Firearms from FRANCO on Mav 23,.20191

        10.    Between May 15, 2019 and May 23, 2019, there were

  several phone calls and text messages between UC-1 and a

  person known as Freddy, later identified as Ferdinand

  FRANCO ( ~~ FRANCO").

        11.    On May 15, 2019, UC-1 initiated contact with

  FRANCO with the following text message exchange that was

  preserved.

               UC-1:      Hey Freddy dis Locs boy Ronnie

               FRANCO:    Hey wats up



  1 On June 20, 2019, the Honorable Autumn Spaeth, United
  States Magistrate Judge, issued a criminal complaint and
  arrest warrant for FRANCO, for a violation of Title 18,
  United States Code, Section 922(a)(1)(A) Engaging in the
  Business of Dealing in Firearms without a License. (Case
  number SA 19-482 M)   FRANCO is currently in state custody
  and has not appeared in federal court on this complaint.
  For reasons described below, CHANPA is believed to be a
  supplier of FRANCO for firearms. Accordingly, buys from
  FRANCO are summarized in this affidavit as well.


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              UC-l:       Loc wuz tryna hook up wit dem things

                          for me. U think u cud get em?

  At this point in the conversation, FRANCO sent the UC-1 a

  photograph of an AR-15 style rifle in a case and a text

  that stated, "I got this right now".

        12.   On May 23, 2019, UC-1 received an incoming

  telephone call from FRANCO.       They discussed where the

  firearms transaction would occur.        FRANCO stated that his

  firearms supplier lives in Anaheim.

        13.   On May 23, 2019, prior to the undercover

  operation, UC-1 was fitted with an electronic video

  recording device as well as a transmitting device.

  Surveillance was established during the undercover

  operation and UC-1 was followed to and from the meet

  location.    During this undercover operation, UC-1 purchased

  two firearms from FRANCO for $1,600 in the parking lot

  located at 6328 Westminster Blvd., Westminster, California.

  FRANCO was accompanied by a female.        FRANCO told UC-1 that

  his Mexican source of supply has Glock firearms available

  for approximately $700 each.       The two firearms purchased by

  UC-1 from FRANCO were:

              a. Unknown manufacturer, unknown model, 5.56 x 45

  caliber rifle, S/N: unknown (AR-15 style rifle); and

              b. Taurus, model: PT738 TCP, .380 caliber pistol,



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   S/N: 55429C.

        14.   UC-1 informed me that after the firearms

   purchase, UC-1 reviewed FRANCO's California Drivers License

  photograph and identified Freddy as FRANCO.

     Purchase of Three Firearms and Suspected Methamphetamine
                   from FRANCO on June 6, 2019

        15.   Prior to this undercover operation, UC-1 had

  contact with FRANCO about the purchase of firearms and

  methamphetamine.     Between May 24, 2019 and June 6, 2019,

  there were numerous phone calls, photos, and text messages

  sent between FRANCO and UC-l.       Additionally, FRANCO sent

  UC-1 a video recording of an AR-15 style rifle.

        16. On June 6, 2019, prior to this undercover

  operation, UC-1 had contact with FRANCO about the purchase

  of these firearms and methamphetamine.         UC-1 was fitted

  with two electronic video recording devices as well as a

  transmitting device.      Surveillance was established during

  the undercover operation and UC-1 was followed to and from

  the meet location.     During this undercover operation, UC-1

  purchased three firearms and approximately one-quarter

  pound of suspected methamphetamine from FRANCO for $1,800

  in the parking lot of the MainPlace Mall located at 2800 N.

  Main Street, Santa Ana, California.        The three firearms

  purchased were:




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               a. Ruger, model: Standard, .22 caliber pistol,

  S/N: 11-31917.     A records checks revealed that this firearm

  is a stolen firearm and was reported stolen in 2017 to the

  Gooding County Sheriff's Office in Gooding, Idaho;

               b. Stoeger Arms, model: Luger, .22 caliber

  pistol, S/N: 44588; and

               c. Unknown Manufacturer, unknown model, .38 Long

  CTG Revolver, S/N: 9408.

        17. On June 7, 2019, the suspected methamphetamine

  that was purchased on June 6, 2019 was sent to the Drug

  Enforcement Administration ("DEA") Laboratory for further

  testing and analysis.

    Purchase of Five Firearms and Methamphetamine from FRANCO
                        on June 13, 2019

        18.    On June 13, 2019, UC-1 purchased five firearms

  and approximately one-quarter pound of methamphetamine from

  FRANCO.     Prior to this undercover operation, UC-1 had

  contact with FRANCO about the purchase of these firearms

  and methamphetamine.     Between June 12, 2019 and June 13,

  2019, FRANCO sent UC-1 photos of various firearms.          There

  was also text message communication between UC-1 and

  FRANCO.

        19.   On June 13, 2019, prior to this undercover

  operation, UC-1 was fitted with two electronic video
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   recording devices as well as a transmitting device.

   Surveillance was established during the undercover

   operation and UC-1 was followed to and from the meet

   location.    During the undercover operation, UC-1 purchased

   five firearms and approximately one-quarter pound of

   suspected methamphetamine from FRANCO for $6,600 at the

   parking lot of the MainPlace Mall located at 2800 N. Main

   Street, Santa Ana, California.       The five firearms purchased

   were:

               a. Anderson Manufacturing, model: AM-15, multi

   caliber pistol, S/N: 18241920;

               b. Anderson Manufacturing, model: AM-15, multi

   caliber firearm, S/N: 16076523;

               c. Glock, model: 17, 9mm pistol, S/N: BBDM728;

               d. Glock, model: 43, 9mm pistol, S/N: BGCK778;

   and

               e. Glock, model: 43, 9mm pistol, S/N: BHYA901;

         20.   On June 14, 2019, the suspected methamphetamine

   (approximately 117 gross grams) that was purchased on June

   13, 2019 was sent to the DEA Laboratory for further testing

   and analysis.     The lab determined that the suspected

   methamphetamine contained 110.6 grams of actual

   methamphetamine and was 100 percent pure with a margin of

   uncertainty plus or minus four percent.
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        Purchase of Six Firearms from FRANCO on June 17, 2019

         21.   On June 17, 2019, UC-1 purchased six firearms

   from FRANCO.     Prior to this undercover operation, UC-1 had

   contact with FRANCO about the purchase of these firearms.

   Between June 13, 2019 and June 17, 2019, there was one

   phone call between UC-1 and FRANCO and text message

   communication.     FRANCO sent UC-1 several photos of various

   types of firearms.

         22.   On June 17, 2019, prior to the undercover

   operation, UC-1 was fitted with two electronic video

   recording devices as well as a transmitting device.

   Surveillance was established during the undercover

   operation and UC-1 was followed to and from the meet

   location.    During the undercover operation, UC-1 purchased

   six firearms from FRANCO for $5,800 at the parking lot of

   the MainPlace Mall located at 2800 N. Main Street, Santa

   Ana, California.     The six firearms purchased were:

               a. Mossberg, model: 500A, 12 gauge short barrel

   shotgun, S/N: P158857 (overall length measured to be

   approximately 24");z



   z Pursuant to 26 U.S.C. ~ 5841, certain types of firearms
   that are not in the possession of the United States must be
   registered in the National Firearms Registration and
   Transfer Record (~~NFRTR") and a tax must be paid if the
   firearm is transferred to another individual. These
   firearms are commonly referred to as NFA firearms. A type


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               b. Sig-Sauer, model: Sig M400, 5.56 caliber

    rifle, S/N: 38B010405;

               c. HS Products, model: XD45 Sub-Compact Model 2,

   .45 caliber pistol, S/N: GM480223;

               d. Glock, model: 22, .40 caliber pistol, S/N:

   NHV061;

               e. Taurus, model: The Judge, 45/410 caliber

   revolver, S/N: JS706411; and

               f. Matrix Aerospace Corporation, model: M556-SC,

   5.56 caliber firearm, S/N: SC556-04251.

         23.   On June 12, 2019, ATF Industry Operations

   Investigator James Palm conducted a records check of FRANCO

   in the ATF Federal Licensing System database.          This records

   check indicated that FRANCO does not currently and has

   never had a Federal Firearms License.

    Purchase of One Firearm and Suspected Methamphetamine from
                         CHANPA on July 5, 2019

         24.   In early July 2019, UC-1 received information

   from a source that an individual known as "Duece" had "off-

   roster" firearms available for purchase.        "Off-roster"

   refers to firearms that do not appear on California's list


   of NFA firearm included in this provision is "a weapon made
   from a shotgun if such weapon as modified has an overall
   length of less than 26 inches or a barrel or barrels of
   less than 18 inches in length." 26 U.S.C. ~ 5845(a)(2).
   Possession of an unregistered firearm of this type is a
   criminal violation pursuant to 26 U.S.C. ~ 5861(d).


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    of approved firearms for sale to the general public.

    California law allows only law enforcement to purchase

    these firearms.

         25.    On July 2, 2019, UC-1 sent "Duece" (later

   identified as CHANPA) an outgoing text message and inquired

   about whether certain off-roster Glock model firearms were

   available.     Shortly thereafter, UC-1 received an incoming

   text message from CHANPA that stated, ~~Yea"

         26.    After exchanging several text messages about

   firearms transactions, UC-1 made a recorded call to CHANPA.

   During this call, UC-1 asked CHANPA if he knew "Freddy"

   ("FRANCO")      CHANPA affirmatively responded and told UC-1

   that FRANCO was currently in jail.        UC-1 indicated to

   CHANPA that he had obtained a lot of firearms and

   methamphetamine from FRANCO.       CHANPA stated, ~~I know, he

   was tellin me, I was giving him stuff, like he was telling

   me about you, but I never met you."        Later in the

   conversation when UC-1 explained to CHANPA that he lost

   FRANCO as his connection, CHANPA responded, ~~Yeah, this is

   more direct now, cuz            yeah, he'll get most of em from

   me.   I'll try to test out one by            a little bit, work

   with you then.     Once we go from there, yeah I can give you

   a lot."     Based on this conversation and my training and

   experience, I believe CHANPA may have been the source for



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    some of the firearms that FRANCO sold UC-1.         UC-1 and

    CHANPA discussed meeting on July 5, 2019 for the purpose of

    selling UC-1 firearms and one-quarter pound of

    methamphetamine.

         27.   Between July 3, 2019 and July 5, 2019, UC-1 and

    CHANPA exchanged a series of text messages that ultimately

   arranged for the purchase of one Glock, model 42, .380

   caliber pistol and approximately one quarter pound of

   methamphetamine from CHANPA on July 5, 2019 at The Palms

   Gentlemens Club in Signal Hill, California.

         28.   On July 5, 2019, prior to the undercover

   operation, UC-1 was fitted with an electronic video

   recording device as well as a transmitting device.

   Surveillance was established during the undercover

   operation and UC-1 and UC-2 were followed to and from the

   meet location.

         29.   On July 5, 2019, at approximately 1354 hours, the

   UCs arrived at The Palms Gentlemens Club.         At approximately

   1408 hours, the UCs observed CHANPA driving alone in a

   black Infiniti model G37 sedan, bearing California license

   plate 7YAN752 (SUBJECT VEHICLE 1)         After speaking on the

   phone, the UCs and CHANPA met in the parking garage and the

   UCs followed CHANPA to SUBJECT VEHICLE 1.         CHANPA entered

   his vehicle through the driver side while UC-1 entered the



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    vehicle through the front passenger side and UC-2 entered

    through the rear passenger side.         Shortly thereafter,

   CHANPA retrieved from the driver side area a clear plastic

   bag containing what appeared to be one-quarter pound of

   suspected methamphetamine.       CHANPA handed the suspected

   methamphetamine to UC-1 and stated, "That's the QP right

   there."     Immediately afterwards, CHANPA retrieved a

   firearm, later identified to be a Glock, model 42, .380

   caliber pistol bearing serial number ABHB670 with the slide

   bearing serial number ACXM467, also from the driver side

   area and handed it to UC-l.       CHANPA stated, ~~Here's that

   three eighty you gotta wipe it down."

         30.   UC-1 and CHANPA discussed potential future

   firearms deals.     UC-1 counted out and gave CHANPA $1500 for

   the firearm and $900 for the suspected methamphetamine.

         31.   At the conclusion of this undercover operation,

   UC-2 provided me with the license plate (7YAN752) of the

   black Infiniti sedan that CHANPA arrived in and the vehicle

   in which the July 5, 2019 transaction occurred (SUBJECT

   VEHICLE 1).    I requested a records check for license plate

   (7YAN752)     This vehicle is registered to CHANPA at an

   address in Long Beach.

         32.   On July 9, 2019, UC-1 conducted a record check

   for a California Driver's License photograph of CHANPA.



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    Upon obtaining and reviewing CHANPA's California Department

   of Motor Vehicles ("DMV") photograph, UC-1 positively

   identified the individual in CHANPA's DMV photograph as the

   same person UC-1 and UC-2 met with during the July 5, 2019

   firearm and methamphetamine transaction.

         33. On July 9, 2019, the suspected methamphetamine

   (approximately 112 gross grams) that was purchased on July

   5, 2019 was sent to the DEA Laboratory for further testing

   and analysis.

         Purchase of Three Firearms from CHANPA and MITCHELL
                           on July 8, 2019

         34.   On July 8, 2019, ATF Agents conducted an

   undercover operation resulting in the purchase of three

   firearms from MITCHELL and CHANPA at SUBJECT PREMISES 1.

         35.   I met with UC-1 at a predetermined briefing

   location.    UC-1 stated that he had been communicating with

   CHANPA who stated that he had firearms for sale to UC-1.

   CHANPA offered to sell three firearms to UC-1 at SUBJECT

   PREMISES 1 for $4,050.      CHANPA told UC-1 to come to SUBJECT

   PREMISES 1 to complete the firearms transaction as this was

   his (CHANPA's) "homie's" residence and that he would pay

   $50 to the `~homie."

         36.   At the predetermined briefing location, UC-1 was

   provided government funds, an electronic




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   transmitting/monitoring device and an electronic recording

   device.

         37.   During this transaction, ATF Special Agents

    kept UC-1 under surveillance as he drove to SUBJECT

   PREMISES 1.    UC-1 initially waited in the parking lot of

   SUBJECT PREMISES 1 for CHANPA to arrive.

         38.   UC-1 briefly drove away from the parking

   lot of SUBJECT PREMISES 1.       UC-1 then drove back to the

   parking lot of SUBJECT PREMISES 1 as CHANPA contacted UC-1

   and stated that he (CHANPA) would arrive shortly.          When UC-

   1 returned, he went to SUBJECT PREMISES 1 and met with

   CHANPA and an adult male who identified himself as Ryan,

   and was later identified as MITCHELL.

         39.   A records checks revealed that MITCHELL is a

   convicted felon.     On March 21, 2018, MITCHELL was convicted

   for a felony violation of California Penal Code Section

   25400(A)(1): Carry a Concealed Weapon in a Vehicle

   (Felony)- Los Angeles Superior Court, Case# NA10858601.

   The charging document states, `First Amended Felony

   Complaint."    MITCHELL was sentenced to three years formal

   probation with credit for four days served.         In addition,

   MITCHELL was ordered not to own, use or possess any

   dangerous or deadly weapons, including any firearms, knives

   of other concealable weapons.



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         40.   UC-1 conducted the firearms transaction with

    CHANPA and MITCHELL present within SUBJECT PREMISES 1.

   CHANPA sold UC-1 the following firearms

         a.    a Glock, model: 22, .40 caliber pistol, S/N:

   TUP910;

         b.    a Glock, model: 42, .380 caliber pistol, S/N:

   ACNB004; and

         c.    an Anderson Manufacturing, model: AM-15, multi

   caliber pistol, S/N: 19149474.

         41.   UC-1 then entered his vehicle and drove away from

   SUBJECT PREMISES 1.      At the conclusion of this undercover

   operation, UC-1 reviewed the California~Driver's License

   photo of MITCHELL and positively identified him (MITCHELL)

   as the individual he met with CHANPA at SUBJECT PREMISES 1.

         42.   On July 8, 2019, I obtained the DMV photo and

   information for MITCHELL.      On MITCHELL'S DMV information,

   he has the listed address of SUBJECT PREMISES 1.

         43.   On July 9, 2019, while conducting records checks

   of MITCHELL, I observed within the California Law

   Enforcement Telecommunications System ("CLETS") criminal

   history report, that MITCHELL'S arrest on February 23, 2018

   has MITCHELL associated with the address of `3555,

   GreenThree Cir AptB, W, Anaheim, CA, 92804."         This address




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    appears to a typographical error for the address of SUBJECT

   PREMISES 1.

         44.   On July 24, 2019, I conducted a records search of

   MITCHELL within a law enforcement database and observed

   that MITCHELL has been associated with SUBJECT PREMISES 1

   from August 2017 until June 2019.

         45.   On July 24, 2019, UC-1 communicated with CHANPA

   who confirmed that MITCHELL still resides at SUBJECT

   PREMISES 1.

    Purchase of Three Firearms and Suspected Methamphetamine on
                           July 10, 2019

         45.   On July 10, 2019, ATF Agents and members of the

   Brea Police Department conducted an undercover operation

   resulting in the purchase of three firearms and

   approximately six ounces of suspected methamphetamine from

   CHANPA and MITCHELL at SUBJECT PREMISES 1.

         46.   I met with UC-1 and UC-3 at a predetermined

   briefing location.     UC-1 stated that he had been

   communicating with CHANPA who stated that he had firearms

   and methamphetamine for sale.       CHANPA offered to sell three

   firearms and approximately six ounces of methamphetamine to

   UC-1 at SUBJECT PREMISES 1 for $6,450.        CHANPA told UC-1 to

   come to SUBJECT PREMISES 1 to complete the firearms and

   narcotics transaction.




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         47.   At the predetermined briefing location, UC-1 was

    equipped with government funds, an electronic

    transmitting/monitoring device and an electronic recording

   device.

         48.   The UCs went to SUBJECT PREMISES 1 and met

   with CHANPA and MITCHELL.       The UCs conducted the firearms

   and narcotics transaction with CHANPA and MITCHELL within

   SUBJECT PREMISES 1.      CHANPA sold the UCs the following

   firearms:

         a.    a Romarm/Cugir, model: Mini Draco, 7.62 caliber

   pistol, S/N: PE-5116-2018 R0;

         b.    a Russia, model: SKS-45, 7.62 caliber rifle, S/N:

   RH008351; and

         c.    a FN Herstal, model: unknown, 16 gauge shotgun

   with a barrel length less than 18 inches, S/N: 62891.

         49.   CHANPA also sold UC-1 approximately six ounces of

   suspected methamphetamine.

         49.   During the transaction, UC-1 and UC-3 observed

   MITCHELL reveal what appeared to be a black Glock, model 42

   pistol from within the covers of his bed near UC-1 and

   subsequently laid it down in front of UC-1.         UC-1 asked,

   ~~Oh, that's yours?"    MITCHELL responded, ~~Mm, yes."

         50.   Shortly thereafter, UC-1 and UC-3 observed a

   clear high capacity magazine loaded with what appeared to



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    be 9mm caliber ammunition, inserted into the firearm and

   extending outside of the grip.        UC-1 then commented on the

   clear magazine being the same one in two photograph files

   that he received from CHANPA via text message on July 3,

   2019.     Afterwards, CHANPA advised UC-1 that MITCHELL's

   firearm is a nine (I believe referring to a 9mm caliber)

   and the firearm UC-1 previously purchased from CHANPA is a

   three eighty (I believe referring to a .380 caliber).

         51.    UC-1 then asked MITCHELL if he could ~~check out"

   the firearm.     MITCHELL responded, ~~Yeah, go ahead."       UC-1

   held the firearm and asked MITCHELL if the firearm was

   loaded, during which time MITCHELL negatively responded.

   UC-1 noticed that a loaded magazine was already inserted

   into the firearm.     UC-1 commented on the firearm being nice

   and indicated that it is small enough to conceal inside a

   pocket.     UC-1 asked MITCHELL if he wanted to sell the

   firearm to him.     MITCHELL responded, ~~Hell naw."

         52.   CHANPA then advised that the firearm consisted of

   an eighty percent (800) frame, despite observations from

   UC-1 and UC-3 that it appeared to be a real Glock model 42

   pistol.3    UC-1 asked CHANPA if the firearm is (referring to



   3 An eighty percent (800) frame or eighty percenter refers to
   a firearm receiver blank, "casting" or "machined body" in
   which the fire-control cavity area is completely solid and
   un-machined and has not reached the "stage of manufacture"


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    an eighty percent (80o) firearm).          CHANPA stated, ~~Yeah, it

    don't jam though, the shit cool, test-fired."          While

    continuing to physically and visually inspect the firearm,

   MITCHELL stated, ~~This motherfucker fit in the hand."

   CHANPA stated, "Hell yeah."       UC-1 then asked what kind of

   ammunition was in the magazine.           CHANPA stated, ~~It's a

   nine (I believe referring to 9mm caliber)."           MITCHELL

   asked, "It's uh           what kind of bullets in there?"

   CHANPA stated, ~~Nine RPs (I believe referring to Remington-

   Peters)         regular bullets."

         53.   Afterwards, UC-1 indicated to MITCHELL that he

   had to keep the firearm to protect himself, during which

   time MITCHELL stated, ~~Oh hell yeah, I take that anywhere,

   everywhere."    Shortly thereafter, UC-1 placed the firearm

   back on MITCHELL'S bed.      UC-1 then proceeded to initiate

   payment for the other firearms and suspected

   methamphetamine to CHANPA.

         54.   On July 12, 2019, I submitted the suspected

   methamphetamine to the DEA Laboratory for testing and

   analysis.




   which would result in the classification of a firearm under
   federal law. I know based on my training and experience
   that sometimes people will still refer to a completed
   firearm that was manufactured using an eighty percent frame
   as an eighty percenter.


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         55.   On July 11, 2019, I conducted a records check of

   CHANPA in the ATF Federal Licensing System database.           This

   records check indicated that CHANPA does not currently and

   has never had a Federal Firearms License.

         56.   On July 12, 2019, ATF Industry Operations

   Investigator ("IOI") J. Palm conducted a records check of

   CHANPA in the ATF National Firearms Registration and

   Transfer Record (~~NFRTR") database.       This records check

   indicated that CHANPA does not have any National Firearms

   Act (~~NFA") weapons registered to him in the NFRTR.

         57. On July 12, 2019, IOI Palm conducted a records

   check of the FN Herstal, model: Unknown, 16 gauge shotgun

   with barrel length less than 18 inches, S/N: 62891.           This

   records check revealed that this firearm is not registered

   in the NFRTR.

         58.   On July 24, 2019, I spoke with ATF Special Agent

   and Interstate Nexus Expert Ludger Parent who informed me

   that no firearms or firearms parts manufactured by Glock

   are made in the state of California.

   Additional Evidence that CHANPA was a Supplier for FRANCO

         59.   On July 17, 2019, I reviewed information from

   T-Mobile for subscriber and call detail records for

   FRANCO's phone number of (562) 986-8401.         While examining

   the call detail records of this phone number, I observed



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    that this phone number had contact with CHANPA's phone

    number of (562) 486-1719 on approximately 163 instances

   between May 1, 2019 and June 25, 2019.         UC-1 had

   communication with both FR.ANCO's phone number of (562) 986-

   8401 and CHANPA's phone number of (562) 486-1719 during

   this investigation.

      VI. TRAINING AND EXPEREINCE REGARDING DRUG AND FI~_ARM$
                               TRAFFICKERS


         60.   As set forth in detail above, I have had

   experience, training, and communications with law

   enforcement personnel who specialize in the area of

   documentation and detection of proceeds from drug and

   firearms trafficking.      I also have experience in debriefing

   informants as witnesses who have personal knowledge of drug

   and firearms trafficking organizations.         Such individuals

   often have knowledge regarding the methods of

   transportation and distribution of the drugs, firearms, and

   money in large-scale distribution operations.

         61.   Based on my training experience and speaking to

   other agents and law enforcement personnel who are experts

   in the area, I also know the following:

               a.   Drug and firearms traffickers use various

   locations to serve different functions so that customers,

   thieves, and law enforcement personnel do not learn about

   any one location where large quantities of narcotics,

   firearms, money, and/or other criminal proceeds are stored.




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   Therefore, one or more locations are often used to store

   lesser amounts of narcotics, firearms, money, and/or other

   criminal proceeds, and additional locations are used to

   meet customers;

               b.    Persons involved in large-scale drug and

   firearms trafficking conceal, in various locations, caches

   of drugs, drug paraphernalia, firearms, jewelry,

   automobiles, automobile titles, deeds to property, and

   other items of value and/or proceeds of drug transactions

   and evidence of financial transactions relating to

   obtaining, transferring, secreting, or spending large sums

   of money acquired from engaging in narcotics and firearms

   trafficking activities;

               c.    Drug and firearms traffickers maintain at

   their locations, including the residences where they live,

   and in their vehicles, money, ledgers, narcotic and

   firearms supplier lists, correspondence, notations, logs,

   receipts, journals, books, records and other materials

   noting the price, quantity, or times when narcotics or

   firearms were obtained, transferred, sold, distributed, or

   concealed; that drug traffickers also maintain drug

   paraphernalia such as cutting materials, weighing devices,

   miscellaneous containers, and measuring devices which are

   used to facilitate the distribution of narcotics;

               d.   Traffickers use telephones, portable

   cellular and digital telephones, and other communication

   devices sometimes in fictitious and/or other individuals'


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    names.   Traffickers commonly receive telephone calls and

    messages on telephone answering machines and phones from

   individuals seeking to conduct narcotics transactions.           As

    a result, traffickers often maintain in their residences,

    vehicles, and locations where they conduct transactions,

   records and items that reflect or contain names, addresses,

   and/or telephone numbers for their associates in the

   trafficking organization, or otherwise used as part of

   trafficking activity, even if said records may be in code.

   Such records and items include telephone address books and

   telephone listings, text messages, voice mails, answering

   machine recordings, as wells as letters, telephone bills,

   text messages photographs, e-mails, fax messages, and

   personal notes reflecting names, identities, addresses, and

   telephone numbers.

               e.    When drug and firearms traffickers amass

   large quantities of cash from the sale of drugs and

   firearms, they often attempt to legitimize these profits

   through the use of banks and financial institutions and

   their attendant services that include accounts, securities,

   travelers checks, cashier's checks, money orders, wire

   transfers, stock certificates, bonds, certificates of

   deposit, and safety deposit boxes;

               f.    Drug and firearms traffickers often place

   assets in names of relatives and close friends in order to

   avoid detection of those assets by law enforcement

   agencies; even though these assets are in other persons'


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   names, the dealers retain records, documents, and deeds

   reflecting the purchase of those assets while continuing to

   use those assets and exercise dominion and control over

   them;

               g.    It is common practice for large-scale

   narcotic and firearms traffickers to travel to their

   purchase and distribution areas to facilitate their

   trafficking; that after purchasing drugs or firearms,

   traffickers will transport, or cause to be transported,

   narcotics and firearms to areas in which they will

   distribute the drugs and firearms; methods of

   transportation include rental and private automobiles;

               h.    Drug and firearms traffickers take or cause

   to be taken photographs of themselves, their associates,

   their property and their product; traffickers usually

   maintain these photographs at their premises;

               i.   That drug traffickers commonly have in their

   possessions, that is on their persons, in their vehicles,

   at their residence or at their stash houses, firearms,

   including handguns, pistols, revolvers, rifles, shotguns,

   machine guns and other weapons, that are used to protect

   and secure the drug trafficker's property, including

   narcotics, narcotic paraphernalia, currency, jewelry, and

   records;

               j.   Drug and firearms traffickers often keep

   records of their illegal activities for a period of time

   extending beyond the time during which they actually


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    possess illegal controlled substances, to maintain contact

    with their criminal associates for future transactions, and

   to keep records of prior transactions for which, for

   example, a trafficker might still be owed money, or might

   owe someone else money.



         62.   Based on the totality of circumstance, I believe

   that there is probable cause that the SUBJECT PREMISES

   contain controlled substances, firearms, and various items

   used to facilitate the possession for purposes of

   distribution and distribution of controlled substances and

   firearms.

          VII. TRAINING AND EXPERIENCE ON DIGITAL DEVICES4

         63.   Based on my training, experience, and information

   from those involved in the forensic examination of digital

   devices, I know that the following electronic evidence,

   inter alia, is often retrievable from digital devices:

               a.   Forensic methods may uncover electronic

   files or remnants of such files months or- even years after


   9 As used herein, the term "digital device" includes any
   electronic system or device capable of storing or
   processing data in digital form, including central
   processing units; desktop, laptop, notebook, and tablet
   computers; personal digital assistants; wireless
   communication devices, such as paging devices, mobile
   telephones, and smart phones; digital cameras; gaming
   consoles; peripheral input/output devices, such as
   keyboards, printers, scanners, monitors, and drives;
   related communications devices, such as modems, routers,
   cables, and connections; storage media; and security
   devices.


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   the files have been downloaded, deleted, or viewed via the

   Internet.    Normally, when a person deletes a file on a

   computer, the data contained in the file does not

   disappear; rather, the data remain on the hard drive until

   overwritten by new data, which may only occur after a long

   period of time.     Similarly, files viewed on the Internet

   are often automatically downloaded into a temporary

   directory or cache that are only overwritten as they are

   replaced with more recently downloaded or viewed content

   and may also be recoverable months or years later.

               b.    Digital devices often contain electronic

   evidence related to a crime, the device's user, or the

   existence of evidence in other locations, such as, how the

   device has been used, what it has been used for, who has

   used it, and who has been responsible for creating or

   maintaining records, documents, programs, applications, and

   materials on the device.      That evidence is often stored in

   logs and other artifacts that are not kept in places where

   the user stores files, and in places where the user may be

   unaware of them.     For example, recoverable data can include

   evidence of deleted or edited files; recently used tasks

   and processes; online nicknames and passwords in the form

   of configuration data stored by browser, e-mail, and chat

   programs; attachment of other devices; times the device was

   in use; and file creation dates and sequence.

               c.   The absence of data on a digital device may

   be evidence of how the device was used, what it was used


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   for, and who used it.      For example, showing the absence of

   certain software on a device may be necessary to rebut a

   claim that the device was being controlled remotely by such

   software.

               d.    Digital device users can also attempt to

   conceal data by using encryption, steganography, or by

   using misleading filenames and extensions.         Digital devices

   may also contain "booby traps" that destroy or alter data

   if certain procedures are not scrupulously followed.           Law

   enforcement continuously develops and acquires new methods

   of decryption, even for devices or data that cannot

   currently be decrypted.

         64.   Based on my training, experience, and information

   from those involved in the forensic examination of digital

   devices, I know that it is not always possible to search

   devices for data during a search of the premises for a

   number of reasons, including the following:

               a.   Digital data are particularly vulnerable to

   inadvertent or intentional modification or destruction.

   Thus, often a controlled environment with specially trained

   personnel may be necessary to maintain the integrity of and

   to conduct a complete and accurate analysis of data on

   digital devices, which may take substantial time,

   particularly as to the categories of electronic evidence

   referenced above.     Also, there are now so many types of

   digital devices and programs that it is difficult to bring
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   to a search site all of the specialized manuals, equipment,

    and personnel that may be required.

               b.    Digital devices capable of storing multiple

   gigabytes are now commonplace.       As an example of the amount

   of data this equates to, one gigabyte can store close to

   19,000 average file size (300kb) Word documents, or 614

   photos with an average size of 1.5MB.

         65.   The search warrant requests authorization to use

   the biometric unlock features of a device, based on the

   following, which I know from my training, experience, and

   review of publicly available materials:

               a.    Users may enable a biometric unlock function

   on some digital devices.      To use this function, a user

   generally displays a physical feature, such as a

   fingerprint, face, or eye, and the device will

   automatically unlock if that physical feature matches one

   the user has stored on the device.        To unlock a device

   enabled with a fingerprint unlock function, a user places

   one or more of the user's fingers on a device's fingerprint

   scanner for approximately one second.        To unlock a device

   enabled with a facial, retina, or iris recognition

   function, the user holds the device in front of the user's

   face with the user's eyes open for approximately one

   second.

               b.   In some circumstances, a biometric unlock

   function will not unlock a device even if enabled, such as

   when a device has been restarted or inactive, has not been


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    unlocked for a certain period of time (often 48 hours or

    less), or after a certain number of unsuccessful unlock

    attempts.    Thus, the opportunity to use a biometric unlock

   function even on an enabled device may exist for only a

   short time.       I do not know the passcodes of the devices

   likely to be found in the search.

                c.    Thus, the warrant I am applying for would

   permit law enforcement personnel to, with respect to any

   device that appears to have a biometric sensor and falls

   within the scope of the warrant: (1) depress CHANPA's or

   MITCHELL'S thumb and/or fingers on the device(s); and

   (2) hold the device (s) in front of CHANPA's or MITCHELL'S

   face with his or her eyes open to activate the facial-,

   iris-, and/or retina-recognition feature.


         66.    Other than what has been described herein, to my

   knowledge, the United States has not attempted to obtain

   this data by other means.

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                           VIII.      CONCLUSION

         67.   I submit that there is probable cause to believe

   that evidence, contraband, fruits, and instrumentalities of

   the SUBJECT OFFENSES will be found at the SUBJECT PREMISES.

   I also submit there is probable cause to issue a criminal

   complaint and arrest warrant for Calvin Tran CHANPA, also

   known as "Duece", for a violation of Title 18, United

   States Code, Section 922(a)(1)(A): Engaging in the Business

   of Dealing in Firearms without a License and a criminal

   complaint and arrest warrant for Ryan Paul Ocon MITCHELL,

   for a violation of Title 18, United States Code, Section

   922(g)(1): Felon in Possession of a Firearm.




                                      Lawrence Wozniak
                                      Special Agent
                                      Bureau of Alcohol, Tobacco,
                                      Firearms and Explosives




   Subscrib~,Fi and Sworn to before me
   this 2~nrA day cy~ July, 201°.




                  JONf~   RLY




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